Case 1:21-cv-01417-JPM          Document 10          Filed 11/24/21    Page 1 of 2 PageID #: 81




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                       )
QORVO, INC.,                           )
                                       )
      Plaintiff,                       )
                                       ) C.A. No. 1:21-cv-01417-RGA
              v.                       )
                                       )
AKOUSTIS TECHNOLOGIES, INC. and        )
AKOUSTIS, INC.,                        )
                                       )
      Defendants.                      )
__________________________________________________________________________

   DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Defendants Akoustis Technologies, Inc. and Akoustis, Inc. (collectively “Akoustis” ),

through the undersigned counsel, hereby moves this Court under Rule 12(b)(6) of the Federal

Rules of Civil Procedure to dismiss the willful, enhanced and pre-suit damages and induced

patent infringement allegations of Counts I and II, as well as Counts III-V, and in support thereof

Akoustis submits the Memorandum of Law filed concurrently herewith.

Dated: November 24, 2021

                                             Respectfully submitted,

                                             /s/ Ronald P. Golden III
                                             Stephen B. Brauerman (#4952)
                                             Ronald P. Golden III (#6254)
                                             BAYARD, P.A.
                                             600 N. King Street, Suite 400
                                             Wilmington, Delaware 19801
                                             (302) 655-5000
                                             sbrauerman@bayardlaw.com
                                             rgolden@bayardlaw.com
                                             Attorneys for Akoustis Technologies, Inc. and
                                             Akoustis, Inc.




                                                 2
Case 1:21-cv-01417-JPM         Document 10          Filed 11/24/21   Page 2 of 2 PageID #: 82




PILLSBURY WINTHROP
SHAW PITTMAN LLP

*Pro Hac Forthcoming

David A. Jakopin
Dianne L. Sweeney
2550 Hanover Street
Palo Alto, CA 94304-1115
(650) 233-4500
david.jakopin@pillsburylaw.com
dianne@pillsburylaw.com

Robert M. Fuhrer
1650 Tysons Boulevard, 14th Floor
McLean, VA 22102-4856
(703) 770-7900
robert.fuhrer@pillsburylaw.com

Attorneys for Akoustis Technologies, Inc. and
Akoustis, Inc.




                                                3
